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EXHIBIT QQ
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ORIGINAL FILED

FEB 07 2th

LOS ANGELES
SUPERIOR COURT

SUPERIOR COURT OF THE STATE OF CALIFORNIA

COUNTY OF LOS ANGELES, CENTRAL DISTRICT

In re the Temporary Conservatorship of the
Person and the Estate of:

BRITNEY JEAN SPEARS,

Temporary Conservatee.

CASE NO. BP 108870

JOINDER OF ANDREW M. WALLET,
TEMPORARY CO-CONSERVATOR OF
THE ESTATE OF BRITNEY JEAN
SPEARS TO EX PARTE APPLICATION
FOR ORDER: (1) GRANTING POWER TO
FIRE HOWARD GROSSMAN; (2)
REQUIRING HOWARD GROSSMAN TO
TURN OVER ALL DOCUMENTS AND
RECORDS RELATING TO BRITNEY
SPEARS; AND (3) TO TURN OVER ALL
ASSETS RELATING TO BRITNEY
SPEARS

Date: February 7, 2008
Time: 1:30 p.m
Department: 9

I, ANDREW M. WALLET, am the Co-Conservator of the Estate of Britney Jean Spears.

I hereby join in the Ex Parte Application For Order: (1) Granting Power To Fire Howard

Grossman; (2) Requiring Howard Grossman To Turn Over All Documents And Records

Relating To Britney Spears; And (3) To Turn Over All Assets Relating To Britpey Spears.

Dated: February 7 , 2008 By: a:

Andrew Mo Wallet,
Co-Conservator of theEstate of Britney Jean Spears
f

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JOINDER OF ANDREW M. WALLET TO EX PARTE APPLICATION FOR ORDER GRANTING
AUTHORIZATION TO FIRE HOWARD GROSSMAN ETC
